              Case
     Fill in this      23-02065-JMC-11
                  information to identify your case: Doc     1    Filed 05/16/23            EOD 05/16/23 09:19:08                  Pg 1 of 48
     United States Bankruptcy Court for the:

     ____________________
     Southern              District of _________________
              District of Indiana      (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                                Chapter 7
                                                             
                                                             ✔   Chapter 11
                                                                Chapter 12
                                                                                                                                          Check if this is an
                                                                Chapter 13                                                                  amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                             06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                        Photizo  LLC
                                           ______________________________________________________________________________________________________




2.    All other names debtor used          Fish Window Cleaning
                                           ______________________________________________________________________________________________________
      in the last 8 years                  ______________________________________________________________________________________________________
                                           ______________________________________________________________________________________________________
      Include any assumed names,
                                           ______________________________________________________________________________________________________
      trade names, and doing business
      as names                             ______________________________________________________________________________________________________




3.    Debtor’s federal Employer            XX-XXXXXXX
                                           ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                     Principal place of business                                   Mailing address, if different from principal place
                                                                                                         of business
                                               223 S. Pete Ellis Drive                                   P.O.  Box 7885
                                                                                                         _______________________________________________
                                           ______________________________________________
                                           Number     Street                                             Number      Street

                                               Suite 28
                                           ______________________________________________                _______________________________________________
                                                                                                         P.O. Box

                                               Bloomington                    IN    47408
                                           ______________________________________________
                                                                                                         Bloomington                IN      47407
                                                                                                         _______________________________________________
                                           City                        State    ZIP Code                 City                      State      ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                               Monroe County
                                           ______________________________________________
                                           County                                                        _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




5.    Debtor’s website (URL)                www.fishwindowcleaning.com/Bloomington-IN-3120
                                           ____________________________________________________________________________________________________


6.    Type of debtor                       
                                           ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                            Partnership (excluding LLP)
                                            Other. Specify: __________________________________________________________________


Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
            Case 23-02065-JMC-11                  Doc 1       Filed 05/16/23              EOD 05/16/23 09:19:08                   Pg 2 of 48

                Photizo LLC
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above



                                         B. Check all that apply:
                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            5617
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                       
                                                       ✔   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                              are less than $3,024,725. If this sub-box is selected, attach the most
       A debtor who is a “small business                      recent balance sheet, statement of operations, cash-flow statement, and federal income
       debtor” must check the first sub-                      tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
       box. A debtor as defined in
       § 1182(1) who elects to proceed                    
                                                          ✔
                                                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
       under subchapter V of chapter 11                       noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
       (whether or not the debtor is a                        Chapter 11. If this sub-box is selected, attach the most recent balance sheet, statement
       “small business debtor”) must                          of operations, cash-flow statement, and federal income tax return, or if
       check the second sub-box.                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                              in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When                __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________

     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
           Case 23-02065-JMC-11                      Doc 1          Filed 05/16/23          EOD 05/16/23 09:19:08                     Pg 3 of 48

              Photizo LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000
                                             ✔
                                                                               $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
           Case 23-02065-JMC-11                      Doc 1         Filed 05/16/23                  EOD 05/16/23 09:19:08               Pg 4 of 48

               Photizo LLC
Debtor         _______________________________________________________                               Case number (if known)_____________________________________
               Name



                                            $0-$50,000                          $1,000,001-$10 million                     $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                    $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                            $100,001-$500,000
                                            ✔
                                                                                 $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                            $500,001-$1 million                 $100,000,001-$500 million                  More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              05/16/2023
                                                Executed on _________________
                                                            MM / DD / YYYY


                                            /s/ Thomas D. Richardson
                                                _____________________________________________                 Thomas D. Richardson
                                                                                                             _______________________________________________
                                                Signature of authorized representative of debtor             Printed name

                                                       Member
                                                Title _________________________________________




18.   Signature of attorney
                                            /s/ John Allman
                                                _____________________________________________                Date       05/16/2023
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM     / DD / YYYY



                                                John Allman
                                                _________________________________________________________________________________________________
                                                Printed name
                                                Hester Baker Krebs LLC
                                                _________________________________________________________________________________________________
                                                Firm name
                                                One Indiana Sq Suite 1330
                                                _________________________________________________________________________________________________
                                                Number     Street
                                                Indianapolis
                                                ____________________________________________________             IN              46204
                                                                                                                 ____________ ______________________________
                                                City                                                             State        ZIP Code

                                                317-833-3030
                                                ____________________________________                                jallman@hbkfirm.com
                                                                                                                 __________________________________________
                                                Contact phone                                                    Email address



                                                29605-49                                                         IN
                                                ______________________________________________________ ____________
                                                Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 4
              Case 23-02065-JMC-11                                           Doc 1              Filed 05/16/23                          EOD 05/16/23 09:19:08                                      Pg 5 of 48


 Fill in this information to identify the case:

                Photizo LLC
  Debtor name _________________________________________________________________

                                          Southern District of Indiana
  United States Bankruptcy Court for the:_______________________ District of ________
                                                                                                                     (State)
  Case number (If known):              _________________________


                                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                                         amended filing



Official Form 206Sum
Sum m a ry of Asse t s a nd Lia bilit ie s for N on-I ndividua ls                                                                                                                                                  12/15




Pa rt 1 :        Sum m a ry of Asse t s


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                   $ __________________
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:                                                                                                                                                                          70,291.92
                                                                                                                                                                                                    $ __________________
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                             70,291.92
                                                                                                                                                                                                    $ __________________
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Pa rt 2 :        Sum m a ry of Lia bilit ie s




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          119,144.00
                                                                                                                                                                                                    $ __________________
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                                   0.00
                                                                                                                                                                                                    $ __________________
           Copy the total claims from Part 1 from line 6a of Schedule E/F .........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                           +$ __________________
                                                                                                                                                                                                           41,475.22



4. Total liabilities ...........................................................................................................................................................................          160,619.22
                                                                                                                                                                                                    $ __________________
     Lines 2 + 3a + 3b




  Official Form 206Sum                                        Summary of Assets and Liabilities for Non-Individuals                                                                                       page 1
              Case 23-02065-JMC-11                      Doc 1        Filed 05/16/23           EOD 05/16/23 09:19:08                        Pg 6 of 48

      Fill in this information to identify the case:

                    Photizo LLC
      Debtor name __________________________________________________________________

                                              Southern District of Indiana
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                              Check if this is an
      Case number (If known):   _________________________                                                                                         amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                            12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,        Nature of the claim      Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of           (for example, trade      claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact               debts, bank loans,       contingent,     claim amount. If claim is partially secured, fill in
                                                                             professional             unliquidated,   total claim amount and deduction for value of
                                                                             services, and            or disputed     collateral or setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff
     Dunbar Capital LLC                       Nick Dunbar                  Monies Loaned /
1    333 N. Sam Houston Pkwy. E               ndunbar@specoil.com          Advanced
     Suite 550
                                                                                                                                                           21,000.00
     Houston, TX, 77060


     U.S. Small Business Administration       answerdesk@sba.gov           Economic Injury Disaster
2    5726 Professional Circle                                              Loan
     Suite 100
                                                                                                                                                           13,044.00
     Indianapolis, IN, 46241

     ERC Specialists (Employee Retentional    support@ercspecialists.com   Business Debt
3    Credits)
     560 E. Timpanogos Circle
                                                                                                                                                           3,190.00
     Orem, UT, 84097


     Dunbar Capital LLC                       Nick Dunbar                  Monies Loaned /
4    333 N. Sam Houston Pkwy. E               ndunbar@specoil.com          Advanced
     Suite 550                                                                                                                                             2,500.00
     Houston, TX, 77060


     Indiana Department of Revenue            1-855-281-1771               Taxes & Other              Disputed
5    Bankruptcy Section                                                    Government Units           Unliquidated
     100 N. Senate Avenue, MS 108                                                                     Contingent                                           0.00
     Indianapolis, IN, 46204-0000

     Internal Revenue Service                 1-855-235-6787               Taxes & Other              Disputed
6    P.O. Box 7346                                                         Government Units           Unliquidated
     Philadelphia, PA, 191017346                                                                      Contingent                                           0.00


     Indiana Dept. of Workforce Development   1-317-234-2932               Taxes & Other              Disputed
7    10 N. Senate Avenue                                                   Government Units           Unliquidated
     Room SE106                                                                                       Contingent                                           0.00
     Indianapolis, IN, 46204-2277


8




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                      page 1
             Case 23-02065-JMC-11                 Doc 1       Filed 05/16/23         EOD 05/16/23 09:19:08                         Pg 7 of 48

                  Photizo LLC
    Debtor       _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number,     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code   and email address of        (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact            debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                       professional           unliquidated,   total claim amount and deduction for value of
                                                                       services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                       government
                                                                       contracts)
                                                                                                              Total claim, if    Deduction for       Unsecured
                                                                                                              partially          value of            claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9




10




11




12




13




14




15




16




17




18




19




20




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                 page 2
              Case 23-02065-JMC-11                     Doc 1    Filed 05/16/23           EOD 05/16/23 09:19:08                   Pg 8 of 48
  Fill in this information to identify the case:

               Photizo LLC
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Southern District of Indiana
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    120.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                Type of account                Last 4 digits of account number
          The Peoples State Bank (ending in 1354)
    3.1. _________________________________________________  Checking
                                                           ______________________              1
                                                                                               ____    3
                                                                                                      ____    5
                                                                                                             ____   4
                                                                                                                    ____         $______________________
                                                                                                                                   630.00
          First Financial Bank (ending in 6857)
    3.2. _________________________________________________  Checking
                                                           ______________________              6
                                                                                               ____    8
                                                                                                      ____    5
                                                                                                             ____   7
                                                                                                                    ____           0.92
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 750.92
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

   ✔
            No. Go to Part 3.
           Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1. ________________________________________________________________________________________________________                 $______________________
    7.2._________________________________________________________________________________________________________                 $_______________________


   Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                 page 1
            Case 23-02065-JMC-11                          Doc 1   Filed 05/16/23            EOD 05/16/23 09:19:08                  Pg 9 of 48
Debtor           Photizo LLC
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes. Fill in the information below.
      ✔


                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:     21,525.00
                                  ____________________________    0.00
                                                               – ___________________________          = ........                   21,525.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts

     11b. Over 90 days old:         4,402.00
                                   ___________________________    4,402.00
                                                               – ___________________________          = ........                   0.00
                                                                                                                                  $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                 21,525.00
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 2
            Case 23-02065-JMC-11                      Doc 1        Filed 05/16/23             EOD 05/16/23 09:19:08                  Pg 10 of 48
                   Photizo LLC
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      Yes. Fill in the information below.
      ✔




      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
                                                               04/13/2023          260.00                   Wholesale Costs             260.00
  Cleaning Products
   ________________________________________                   ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                     260.00
                                                                                                                                      $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
     
     ✔      No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

     ✔
            No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
     
     ✔      No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________


Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                     page 3
            Case 23-02065-JMC-11                     Doc 1        Filed 05/16/23            EOD 05/16/23 09:19:08                 Pg 11 of 48
                Photizo LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
Office Furniture and Equipment
                                                                                    900.00
                                                                                  $________________      Liquidation Value
                                                                                                        ____________________        900.00
                                                                                                                                  $______________________
40. Office fixtures

                                                                                  $________________     ____________________      $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
Computer, Printer/Scanner, Software                                                 2,400.00             Liquidation Value          2,400.00
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     3,300.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

      No
     
     ✔ Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                                  page 4
           Case 23-02065-JMC-11                    Doc 1       Filed 05/16/23           EOD 05/16/23 09:19:08                Pg 12 of 48
                  Photizo LLC
 Debtor          _______________________________________________________                   Case number (if known)_____________________________________
                 Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
     
     ✔
       Yes. Fill in the information below.


    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          2010 Ford Transit Connect XLT (139,000 miles)                      6,380.00               KBB.com                     6,380.00
    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)
    Window Cleaning Equipment
                                                                             7,176.00               Est. Liquidation Value      7,176.00
    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.                                                                                                            13,556.00
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
     
     ✔     No
          Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
     
     ✔     No
          Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                                page 5
            Case  23-02065-JMC-11
               Photizo LLC
                                                        Doc 1        Filed 05/16/23           EOD 05/16/23 09:19:08                  Pg 13 of 48
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       Business Premises at 223 S. Pete Ellis Drive,   Lessee
55.1
       Suite 28, Bloomington, Monroe County, Indiana
                                                                                      0.00                                               0.00
       - premises are leased - debtor has no ownership                               $_______________      ____________________        $_____________________
       interest
55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     0.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
        Yes. Fill in the information below.
       ✔



        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
                                                                                       30,900.00          Initial Fee from 12/2014        30,900.00
    Fish Franchise
    ______________________________________________________________                   $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.                                                                                                                     30,900.00
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




 Official Form 206A/B                                            Schedule A/B: Assets  Real and Personal Property                                  page 6
           Case 23-02065-JMC-11                         Doc 1    Filed 05/16/23              EOD 05/16/23 09:19:08                   Pg 14 of 48
Debtor            Photizo LLC
                 _______________________________________________________                         Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
    
    ✔     No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
    
    ✔     Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ✔
           No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                       Current value of
                                                                                                                                       debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                     _______________     –   __________________________         =    $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                           Tax year ___________       $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________       $_____________________
     _________________________________________________________________________________
                                                                                                           Tax year ___________       $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                    $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                    $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                    $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                     $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                       $_____________________
   ____________________________________________________________                                                                       $_____________________
78. Total of Part 11.
                                                                                                                                      $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets  Real and Personal Property                                    page 7
              Case 23-02065-JMC-11                             Doc 1           Filed 05/16/23                   EOD 05/16/23 09:19:08                      Pg 15 of 48
                   Photizo LLC
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         750.92
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         0.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         21,525.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         260.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         3,300.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         13,556.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               0.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         30,900.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         70,291.92                             0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  70,291.92                                                                                        70,291.92
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
             Case 23-02065-JMC-11                                Doc 1       Filed 05/16/23              EOD 05/16/23 09:19:08                       Pg 16 of 48
  Fill in this information to identify the case:
              Photizo LLC
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Southern  District of Indiana

  Case number (If known):       _________________________                                                                                                 Check if this is an
                                                                                                                                                              amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                  12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                   Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                    Amount of claim           Value of collateral
                                                                                                                                   Do not deduct the value   that supports this
2.1 Creditor’s name                                               Describe debtor’s property that is subject to a lien             of collateral.            claim
     Celtic Bank Corporation                                      Equipment, Fixtures, Inventory,
      __________________________________________
                                                                  Instruments, Accounts, Chattel Paper, Gen                          37,585.00
                                                                                                                                   $__________________          Undetermined
                                                                                                                                                              $_________________

     Creditor’s mailing address
                                                                  Intangibles
      268 S. State Street
      ________________________________________________________
      Suite 300, Salt Lake City, UT 84111
      ________________________________________________________

                                                                   Describe the lien
    Creditor’s email address, if known
                                                                   SBA  Note and Security Agreement
                                                                   _________________________________________________
       help@celticbank.com
      _________________________________________
                                                                   Is the creditor an insider or related party?
    Date debt was incurred            2015
                                     __________________            
                                                                   ✔   No
    Last 4 digits of account                                          Yes
    number                   _________________                     Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                     No
    same property?                                                 
                                                                   ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    
    ✔
      No
                                                                   As of the petition filing date, the claim is:
     Yes. Specify each creditor, including this creditor,
                                                                   Check all that apply.
                                                                      Contingent
                                                                      Unliquidated
                                                                      Disputed
2.2 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     Channel Partners Capital
                                                                  All of Debtor's Assets                                           $__________________
                                                                                                                                    0.00                      $_________________
                                                                                                                                                               0.00
      __________________________________________
     Creditor’s mailing address
      11100 Wayzata Blvd.
      ________________________________________________________
      Hopkins, MN 55305
      ________________________________________________________


    Creditor’s email address, if known
      _________________________________________
                                                                   Describe the lien
                             02/2022
    Date debt was incurred __________________
    Last 4 digits of account                                       UCC
                                                                   _________________________________________________
    number                   _________________
                                                                   Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                  
                                                                   ✔   No
    same property?                                                    Yes
    
    ✔ No
                                                                   Is anyone else liable on this claim?
     Yes. Have you already specified the relative                    No
              priority?
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.            As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                   
                                                                   ✔   Contingent
             Yes. The relative priority of creditors is           
                                                                   ✔   Unliquidated
                  specified on lines _____                         
                                                                   ✔   Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                      119,144.00
                                                                                                                                    $________________
    Page, if any.
   Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                            5
                                                                                                                                                                page 1 of ___
               Case   23-02065-JMC-11
                 Photizo LLC
                                                                Doc 1       Filed 05/16/23              EOD 05/16/23 09:19:08                     Pg 17 of 48
  Debtor            _______________________________________________________                                    Case number (if known)_____________________________________
                    Name



                                                                                                                                  Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  3 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Dunbar Capital LLC
                                                                 2010 Ford Transit Connect XLT (139,000
     __________________________________________                  miles)                                                            4,500.00
                                                                                                                                  $__________________      6,380.00
                                                                                                                                                          $_________________
     Creditor’s mailing address

     333 N. Sam Houston Pkwy E
     ________________________________________________________

     Suite 550, Houston, TX 77060
     ________________________________________________________




    Creditor’s email address, if known
     _________________________________________



    Date debt was incurred           04/2023
                                     __________________          Describe the lien
    Last 4 digits of account                                      Note & Security Agreement
                                                                  __________________________________________________
    number                   _________________
                                                                  Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                    No
    same property?                                                
                                                                  ✔   Yes
    
    ✔ No

     Yes. Have you already specified the relative                Is anyone else liable on this claim?
               priority?                                          
                                                                  ✔   No
              No. Specify each creditor, including this             Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                  As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                     Contingent
              Yes. The relative priority of creditors is            Unliquidated
                   specified on lines _____                          Disputed


2.__
  4 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Everest Business Funding
                                                                 Accounts; General Intangibles; Payment
                                                                 Intangibles
     __________________________________________                                                                                    10,296.00
                                                                                                                                  $__________________       Undetermined
                                                                                                                                                          $_________________
     Creditor’s mailing address


      5 West 37th Street
     ________________________________________________________

      Suite 1100, New York, NY 10018
     ________________________________________________________




    Creditor’s email address, if known
      Ayanna.ruiz@everestbusinessfunding.com
     _________________________________________

    Date debt was incurred            10/2022
                                     __________________
                                                                 Describe the lien
    Last 4 digits of account
    number                   _________________                    Financing Agreement
                                                                  __________________________________________________


    Do multiple creditors have an interest in the                 Is the creditor an insider or related party?
    same property?                                                
                                                                  ✔   No
    
    ✔ No                                                             Yes

     Yes. Have you already specified the relative                Is anyone else liable on this claim?
               priority?                                             No
              No. Specify each creditor, including this
                                                                  
                                                                  ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                  As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                  
                                                                  ✔   Contingent
              Yes. The relative priority of creditors is         
                                                                  ✔   Unliquidated
                   specified on lines _____                          Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page ___
                                                                                                                                                                   2 of ___
                                                                                                                                                                         5
               Case   23-02065-JMC-11
                 Photizo LLC
                                                                Doc 1       Filed 05/16/23              EOD 05/16/23 09:19:08                     Pg 18 of 48
  Debtor            _______________________________________________________                                    Case number (if known)_____________________________________
                    Name



                                                                                                                                  Column A                Column B
 Pa rt 1 :      Addit iona l Pa ge                                                                                                Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  5 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Ocean Funding Corporation
                                                                 Accounts, Chattel Paper, Documents,
     __________________________________________                  Equipment, General Intangibles,                                   9,368.00
                                                                                                                                  $__________________      Undetermined
                                                                                                                                                          $_________________
     Creditor’s mailing address                                  Instruments and Inventory
     215 N. New River Dr. E
     ________________________________________________________

     Ft. Lauderdale, FL 33166
     ________________________________________________________




    Creditor’s email address, if known
     eb@purecapitalgroup.com
     _________________________________________



    Date debt was incurred           01/2023
                                     __________________          Describe the lien
    Last 4 digits of account                                      Merchant Agreement
                                                                  __________________________________________________
    number                   _________________
                                                                  Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                 
                                                                  ✔   No
    same property?                                                   Yes
    
    ✔ No

     Yes. Have you already specified the relative                Is anyone else liable on this claim?
               priority?                                             No
              No. Specify each creditor, including this          
                                                                  ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                  As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                  
                                                                  ✔   Contingent
              Yes. The relative priority of creditors is         
                                                                  ✔   Unliquidated
                   specified on lines _____                       
                                                                  ✔   Disputed


2.__
  6 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     On Deck / ODK Capital, LLC
                                                                 Cash, Inventory, Equipment, Investment
                                                                 Property, Instruments, Documents, etc.
     __________________________________________                                                                                    22,475.00
                                                                                                                                  $__________________       Undetermined
                                                                                                                                                          $_________________
     Creditor’s mailing address


      4700 W. Pkwy, Suite 200
     ________________________________________________________

      South Jordan, UT 84009
     ________________________________________________________




    Creditor’s email address, if known
      customerservice@ondeck.com
     _________________________________________

    Date debt was incurred            05/2022
                                     __________________
                                                                 Describe the lien
    Last 4 digits of account
    number                   _________________                    Security Agreement
                                                                  __________________________________________________


    Do multiple creditors have an interest in the                 Is the creditor an insider or related party?
    same property?                                                
                                                                  ✔   No
    
    ✔ No                                                             Yes

     Yes. Have you already specified the relative                Is anyone else liable on this claim?
               priority?                                             No
              No. Specify each creditor, including this
                                                                  
                                                                  ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                  As of the petition filing date, the claim is:
                                                                  Check all that apply.
                                                                  
                                                                  ✔   Contingent
              Yes. The relative priority of creditors is         
                                                                  ✔   Unliquidated
                   specified on lines _____                          Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page ___
                                                                                                                                                                   3 of ___
                                                                                                                                                                         5
               Case   23-02065-JMC-11
                 Photizo LLC
                                                                 Doc 1       Filed 05/16/23              EOD 05/16/23 09:19:08                     Pg 19 of 48
  Debtor            _______________________________________________________                                     Case number (if known)_____________________________________
                    Name



                                                                                                                                   Column A                Column B
  Pa rt 1 :     Addit iona l Pa ge                                                                                                 Amount of claim         Value of collateral
                                                                                                                                   Do not deduct the value that supports this
                                                                                                                                   of collateral.          claim
  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
  previous page.

2.__
  7 Creditor’s name                                               Describe debtor’s property that is subject to a lien
     White Road Capital LLC, Series 155566
                                                                  Accounts Receivable, Accounts, Chattel
      __________________________________________                  Paper, Documents, Equipment, Gen                                  34,920.00
                                                                                                                                   $__________________      Undetermined
                                                                                                                                                           $_________________
     Creditor’s mailing address                                   Intangibles, Instruments and Inventory
      dba GFE Holdings (Global Funding)
      ________________________________________________________

      27-01 Queens Plaza North, Suite 802, Long Island City, NY 11101
      ________________________________________________________




     Creditor’s email address, if known
      rep@globalfundingexperts.com
      _________________________________________



     Date debt was incurred          12/2022
                                     __________________           Describe the lien
     Last 4 digits of account                                      Merchant Agreement and Security Agreement
                                                                   __________________________________________________
     number                   _________________
                                                                   Is the creditor an insider or related party?
     Do multiple creditors have an interest in the                 
                                                                   ✔   No
     same property?                                                   Yes
     
     ✔ No

      Yes. Have you already specified the relative                Is anyone else liable on this claim?
               priority?                                              No
              No. Specify each creditor, including this           
                                                                   ✔   Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                   
                                                                   ✔   Contingent
              Yes. The relative priority of creditors is          
                                                                   ✔   Unliquidated
                   specified on lines _____                        
                                                                   ✔   Disputed


2.__ Creditor’s name                                              Describe debtor’s property that is subject to a lien



      __________________________________________                                                                                   $__________________     $_________________
     Creditor’s mailing address


      ________________________________________________________

      ________________________________________________________




     Creditor’s email address, if known
      _________________________________________

     Date debt was incurred          __________________
                                                                  Describe the lien
     Last 4 digits of account
     number                   _________________                    __________________________________________________


     Do multiple creditors have an interest in the                 Is the creditor an insider or related party?
     same property?                                                   No
      No                                                             Yes

      Yes. Have you already specified the relative                Is anyone else liable on this claim?
               priority?                                              No
              No. Specify each creditor, including this
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                   creditor, and its relative priority.
                                                                   As of the petition filing date, the claim is:
                                                                   Check all that apply.
                                                                      Contingent
              Yes. The relative priority of creditors is             Unliquidated
                   specified on lines _____                           Disputed


  Official Form 206D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page ___
                                                                                                                                                                    4 of ___
                                                                                                                                                                          5
            Case 23-02065-JMC-11                   Doc 1         Filed 05/16/23            EOD 05/16/23 09:19:08                     Pg 20 of 48
Debtor
               Photizo LLC
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     Corporation Service Company, as Representative
     P.O. Box 2576
     Springfield, IL, 62708                                                                                            2
                                                                                                               Line 2. __                    _________________


     Corporation Service Company, as Representative
     P.O. Box 2576
     Springfield, IL, 62708                                                                                            6
                                                                                                               Line 2. __                    _________________


     Ocean Funding Corp.
     1000 NW 65th Street
     Suite 103                                                                                                         5
                                                                                                               Line 2. __                    _________________
     Fort Lauderdale, FL, 33309

     U.S. Small Business Administration
     2 North 20th Street
     Suite 320
                                                                                                                       1
                                                                                                               Line 2. __                    _________________
     Birmingham, AL, 35203
     U.S. Small Business Administration
     8500 Keystone Crossing, Suite 400
     Indianapolis, IN, 46240                                                                                           1
                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




Form 206D                          Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                 page ___
                                                                                                                                                      5 of ___
                                                                                                                                                           5
             Case 23-02065-JMC-11                    Doc 1        Filed 05/16/23              EOD 05/16/23 09:19:08                 Pg 21 of 48
   Fill in this information to identify the case:

   Debtor
                    Photizo LLC
                    __________________________________________________________________

                                           Southern District of Indiana
   United States Bankruptcy Court for the: ________________________________

   Case number       ___________________________________________
    (If known)

                                                                                                                                       Check if this is an
                                                                                                                                          amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                      12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :       List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
        No. Go to Part 2.
    
    ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                         Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    Indiana Department of Revenue                                                                                                     $_________________
                                                            Check all that apply.
    Bankruptcy Section                                      
                                                            ✔    Contingent
    100 N. Senate Avenue, MS 108                            
                                                            ✔    Unliquidated
    Indianapolis, IN, 46204-0000                            
                                                            ✔    Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    Potential Tax Liabilities
    _________________________________

    Last 4 digits of account                                Is the claim subject to offset?
    number      _______________________                     ✔ No

                                                             Yes
    Specify Code subsection of PRIORITY unsecured
                                8
    claim: 11 U.S.C. § 507(a) (_____)
    Priority creditor’s name and mailing address
2.2 Indiana Dept. of Workforce Development                  As of the petition filing date, the claim is: $______________________
                                                                                                            Unknown                   $_________________
                                                            Check all that apply.
    10 N. Senate Avenue
    Room SE106                                              
                                                            ✔    Contingent
    Indianapolis, IN, 46204-2277                            
                                                            ✔    Unliquidated
                                                            
                                                            ✔    Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred
                                                             Taxes & Other Government Units
    Potential Withholding Tax Liabilities
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔ No

    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                                8
2.3 Priority creditor’s name and mailing address            As of the petition filing date, the claim is: $______________________
                                                                                                           Unknown
    Internal Revenue Service                                                                                                          $_________________
                                                            Check all that apply.
    P.O. Box 7346
                                                            ✔   Contingent
    Philadelphia, PA, 191017346                             
                                                            ✔    Unliquidated
                                                            
                                                            ✔    Disputed

                                                            Basis for the claim:
    Date or dates debt was incurred                          Taxes & Other Government Units
    Potential Tax Liabilities
    _________________________________

    Last 4 digits of account
    number      _______________________                     Is the claim subject to offset?
                                                            ✔
                                                                 No
    Specify Code subsection of PRIORITY unsecured            Yes
    claim: 11 U.S.C. § 507(a) (_____)
                               8


  Official Form 206E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                 3
                                                                                                                                           page 1 of ___
             Case  23-02065-JMC-11
               Photizo LLC                         Doc 1         Filed 05/16/23               EOD 05/16/23 09:19:08                   Pg 22 of 48
  Debtor        _______________________________________________________                              Case number (if known)_____________________________________
                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Dunbar Capital LLC                                                                                                         21,000.00
                                                                                                                             $________________________________
                                                                              Contingent
    333 N. Sam Houston Pkwy. E                                                Unliquidated
    Suite 550                                                                 Disputed
    Houston, TX, 77060                                                                             Monies Loaned / Advanced
                                                                           Basis for the claim:



    Date or dates debt was incurred            2016
                                               ___________________          Is the claim subject to offset?

    Last 4 digits of account number            ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Dunbar Capital LLC                                                     Check all that apply.                               2,500.00
                                                                                                                             $________________________________
    333 N. Sam Houston Pkwy. E                                                Contingent
    Suite 550                                                                 Unliquidated
    Houston, TX, 77060                                                        Disputed
                                                                           Basis for the claim:
                                                                                                   Monies Loaned / Advanced


    Date or dates debt was incurred            3/2023
                                               ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    ERC Specialists (Employee Retentional Credits)                                                                             3,190.00
                                                                                                                             $________________________________
                                                                              Contingent
    560 E. Timpanogos Circle                                                  Unliquidated
    Orem, UT, 84097                                                           Disputed
                                                                           Basis for the claim:
                                                                                                   Business Debt

    Date or dates debt was incurred            08/2022
                                               ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Thomas D. Richardson                                                   Check all that apply.
                                                                                                                               1,741.22
                                                                                                                             $________________________________
    P.O. Box 7885                                                             Contingent
    Bloomington, IN, 47407                                                    Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:
                                                                                                   Monies Loaned / Advanced

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    U.S. Small Business Administration                                                                                         13,044.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    5726 Professional Circle                                                  Contingent
    Suite 100                                                                 Unliquidated
    Indianapolis, IN, 46241                                                   Disputed
                                                                           Basis for the claim:
                                                                                                   Economic Injury Disaster Loan

    Date or dates debt was incurred            06/2020
                                               ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                             $________________________________
                                                                              Contingent
                                                                              Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            ___________________            No
                                                                              Yes


    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                                  page __    3
                                                                                                                                                           2 of ___
            Case   23-02065-JMC-11
              Photizo LLC                       Doc 1      Filed 05/16/23          EOD 05/16/23 09:19:08                   Pg 23 of 48
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    0.00
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       41,475.22
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          41,475.22
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                           page __    3
                                                                                                                                                3 of ___
           Case 23-02065-JMC-11                     Doc 1        Filed 05/16/23            EOD 05/16/23 09:19:08                    Pg 24 of 48

 Fill in this information to identify the case:

             Photizo LLC
 Debtor name __________________________________________________________________

                                         Southern District of Indiana
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Lease of Business Premises                        MW Pete Ellis, LLC
         State what the contract or    Lessee                                            225 N. Washington Street
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         Bloomington, IN, 47408

         State the term remaining
                                       Expires 6/30/2024
         List the contract number of
         any government contract


         State what the contract or
 2.2     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                           Schedule G: Executory Contracts and Unexpired Leases                                                        1
                                                                                                                                              page 1 of ___
           Case 23-02065-JMC-11                     Doc 1         Filed 05/16/23            EOD 05/16/23 09:19:08                    Pg 25 of 48
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             Photizo LLC

                                         Southern District of Indiana
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       
       ✔ Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1   Thomas D.                     Thomas D. Richardson                                                Everest Business                    ✔ D
                                                                                                                                             
       Richardson                    P.O. Box 7885\rBloomington, IN 47407                                Funding                              E/F
                                                                                                                                              G




 2.2                                 Thomas D. Richardson                                                                                    ✔ D
                                                                                                                                             
                                     P.O. Box 7885\rBloomington, IN 47407                                                                     E/F
       Thomas D. Richardson                                                                              Celtic Bank Corporation              G




 2.3                                 Thomas D. Richardson
                                                                                                                                          ✔ D
                                                                                                                                          
                                     P.O. Box 7885\rBloomington, IN 47407
                                                                                                                                           E/F
       Thomas D. Richardson                                                                               Ocean Funding        Corporation G



 2.4                                 Thomas D. Richardson
                                                                                                                                           ✔ D
                                                                                                                                           
                                     P.O. Box 7885\rBloomington, IN 47407                                                                   E/F
       Thomas D. Richardson                                                                              On Deck / ODK Capital,          LLC
                                                                                                                                            G



 2.5                                 Thomas D. Richardson                                                                                   ✔ D
                                                                                                                                            
                                     P.O. Box 7885\rBloomington, IN 47407                                                                    E/F
       Thomas D. Richardson                                                                              White Road Capital LLC,             G 155566
                                                                                                                                           Series


 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




Official Form 206H                                               Schedule H: Codebtors                                                                    1
                                                                                                                                               page 1 of ___
         Case 23-02065-JMC-11                       Doc 1          Filed 05/16/23             EOD 05/16/23 09:19:08                Pg 26 of 48


Fill in this information to identify the case:
             Photizo LLC
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Southern District of Indiana District of _________
                                                                              (State)
Case number (If known):   _________________________                                               ___________________________________________



                                                                                                                                       Check if this is an
                                                                                                                                          amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                   Gross revenue
            may be a calendar year                                                             Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the                                                            
                                                                                                ✔ Operating a business
                                                                                                                                               100,914.00
           fiscal year to filing date:           01/01/2023
                                           From ___________         to     Filing date           Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2022
                                           From ___________         to     12/31/2022
                                                                           ___________          
                                                                                                ✔ Operating a business                         247,264.00
                                                                                                                                    $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                 Other
           For the year before that:             01/01/2021
                                           From ___________         to     12/31/2021
                                                                           ___________          
                                                                                                ✔ Operating a business
                                                                                                                                               212,893.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                          $_____________________
                                                                                                 Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                               Description of sources of revenue    Gross revenue from each
                                                                                                                                    source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

           From the beginning of the
                                                                                               ___________________________         $__________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY    ___________________________         $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY    ___________________________         $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 1
            Case 23-02065-JMC-11                  Doc 1        Filed 05/16/23            EOD 05/16/23 09:19:08                     Pg 27 of 48

                 Photizo LLC
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
    adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________                       $_________________                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


     3.2.

                                                                              $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                                                                                 Suppliers or vendors

                                                                                                                 Services

                                                                                                                 Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
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                 Photizo LLC
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                         Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded



             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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                 Photizo LLC
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



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                Photizo LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Hester Baker Krebs LLC
            __________________________________________        $7,500.00 Retainer (including $1,738.00 filing
   11.1.                                                                                                                 05/2023
                                                              fee)                                                       ______________      $_________
                                                                                                                                               7,500.00
            Address

            One Indiana Square, Suite 1330
            Indianapolis, IN 46204




            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
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                Photizo LLC
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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                 Photizo LLC
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.    ________________________________________                                                                                      ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                             Electronically
                                                                                                                                             Paper

                                                             Nature of the business operation, including type of services the             If debtor provides meals
            Facility name and address                        debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            Photizo LLC
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     The Peoples State Bank
             ______________________________________             2430
                                                           XXXX–__________                 
                                                                                           ✔ Checking                  02/23/2023
                                                                                                                       ___________________      $__________
                                                                                                                                                  0.00
            Name
             601 E. Temperance Street\rEllettsville,
                                                                                            Savings
             IN 47429                                                                       Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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              Photizo LLC
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

        None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                        Debtor's Business Premises                 2010 Ford F150; 2012 Chevrolet                   Unknown
                                                                                                                                                  $_________
          Thomas  Richardson
          ______________________________________                                                   Express 1500 Van
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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                Photizo LLC
Debtor          _______________________________________________________                       Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   Photizo LLC
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              David D. Hardy CPA, PC                                                                          From 12/05/2014
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name                                                                                               05/09/2023
              P.O. Box 924069, Houston, TX 77292-4069                                                         To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     Thomas D. Richardson
                    ______________________________________________________________________________
                    Name
                     P.O. Box 7885, Bloomington, IN 47407




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                    Photizo LLC
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




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                Photizo LLC
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 Thomas D. Richardson                        P.O. Box 7885, Bloomington, IN 47407                    Owner/Member                            100




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    Thomas  D. Richardson                                                                                                           Member Draws in
            ______________________________________________________________            29,081.00
                                                                                      _________________________          _____________
            Name                                                                                                                            2022 ($20,581.00);
            P.O. Box 7885                                                                                                                   Member Draws in
            Bloomington, IN 47407                                                                                        _____________      2023 ($8,500.00)


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________
            Owner/Member
            ______________________________________________________________                                               _____________
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                   Photizo LLC
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       05/16/2023
                               _________________
                                MM / DD / YYYY



              /s/ Thomas D. Richardson
              ___________________________________________________________                              Thomas D. Richardson
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Member
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         ✔    No
             Yes




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 Fill in this information to identify the case and this filing:

              Photizo LLC
 Debtor Name __________________________________________________________________

                                         Southern District of Indiana
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    05/16/2023
        Executed on ______________                          /s/ Thomas D. Richardson
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Thomas D. Richardson
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                           United States Bankruptcy Court
IN RE:                                                                                                Case No.__________________
Photizo LLC                                                                                                         11
__________________________________________________________ Chapter __________________

                                                LIST OF EQUITY SECURITY HOLDERS


 Registered name and last known address of security holder                                Shares                             Security Class
                                                                                          (Or Percentage)                    (or kind of interest)

 Thomas D. Richardson                                                                   100                                  Other (Member)
 P.O. Box 7885, Bloomington, IN 47407




                 DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
 I declare under penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
 belief.

        /s/ Thomas D. Richardson
         ______________________________________________

         Signature of individual signing on behalf of the debtor

              05/16/2023
         Date ________________
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                                                         Verification of Creditor List (rev 12/01/18)


                        UNITED STATES BANKRUPTCY COURT
                              Southern District of Indiana


In re:                                            )
__________________________________
 Photizo LLC                                      )      Case No. _______________
[Name of Debtor(s)]                               )                          (xx-xxxxx)
__________________________________,               )
                           Debtor(s).             )
                                                                             □    Check if this form
                                                                             is submitted with an
                                                                             amended creditor list.

                          VERIFICATION OF CREDITOR LIST

(I/We) declare under penalty of perjury that all entities included or to be included in
Schedules D, E/F, G, and H are listed in the creditor list submitted with this verification.
This includes all creditors, parties to leases and executory contracts, and codebtors.

(I/We) declare that the names and addresses of the listed entities are true and correct to
the best of (my/our) knowledge.

(I/We) understand that (I/we) must file an amended creditor list and pay an amendment
fee if there are entities listed on (my/our) schedules that are not included in the creditor
list submitted with this verification.


                                                  /s/ Thomas D. Richardson
Dated: ______________
       05/16/2023                                 ____________________________
                                                  Signature of Debtor


                                                  ____________________________
                                                  Signature of Joint Debtor




(Note: Certificate of Service not required.)
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Celtic Bank Corporation                                 Ocean Funding Corporation
268 S. State Street                                     215 N. New River Dr. E
Suite 300                                               Ft. Lauderdale, FL 33166
Salt Lake City, UT 84111

                                                        On Deck / ODK Capital, LLC
Channel Partners Capital                                4700 W. Pkwy, Suite 200
11100 Wayzata Blvd.                                     South Jordan, UT 84009
Hopkins, MN 55305

                                                        Thomas D. Richardson
Corporation Service Company, as Representativ           P.O. Box 7885
P.O. Box 2576                                           Bloomington, IN 47407
Springfield, IL 62708

                                                        U.S. Small Business Administration
Dunbar Capital LLC                                      5726 Professional Circle
333 N. Sam Houston Pkwy. E                              Suite 100
Suite 550                                               Indianapolis, IN 46241
Houston, TX 77060

                                                        U.S. Small Business Administration
Dunbar Capital LLC                                      2 North 20th Street
333 N. Sam Houston Pkwy E                               Suite 320
Suite 550                                               Birmingham, AL 35203
Houston, TX 77060

                                                        U.S. Small Business Administration
ERC Specialists (Employee Retentional Credits           8500 Keystone Crossing, Suite 400
560 E. Timpanogos Circle                                Indianapolis, IN 46240
Orem, UT 84097

                                                        White Road Capital LLC, Series 155566
Everest Business Funding                                dba GFE Holdings (Global Funding)
5 West 37th Street                                      27-01 Queens Plaza North, Suite 802
Suite 1100                                              Long Island City, NY 11101
New York, NY 10018


Indiana Department of Revenue
Bankruptcy Section
100 N. Senate Avenue, MS 108
Indianapolis, IN 46204-0000


Indiana Dept. of Workforce Development
10 N. Senate Avenue
Room SE106
Indianapolis, IN 46204-2277


Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 191017346


Ocean Funding Corp.
1000 NW 65th Street
Suite 103
Fort Lauderdale, FL 33309
       Case
     B2030   23-02065-JMC-11
           (Form 2030) (12/15)                     Doc 1         Filed 05/16/23              EOD 05/16/23 09:19:08                     Pg 44 of 48


                                      United States Bankruptcy Court
                                                              Southern District of Indiana
                                               __________________________________
     In re   Photizo LLC

                                                                                                             Case No. _______________

    Debtor                                                                                                            11
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

    FLAT FEE
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
✔    RETAINER
                                                                                                                         7,500.00
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                         395.00
          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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 B2030 (Form 2030) (12/15)
      d. [Other provisions as needed]
Total compensation shall be based upon the total hours of legal services rendered at the applicable attorney or legal assistant rates, plus expenses,
less retainer paid, pursuant to a written engagement letter. No flat fee or flat rate is intended or implied.




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation of the Debtor in any adversary proceeding.
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

        05/16/2023                       /s/ John Allman, 29605-49
      _____________________             _________________________________________
      Date                                     Signature of Attorney
                                         Hester Baker Krebs LLC
                                        _________________________________________
                                             ​Name of law firm
                                         One Indiana Sq
                                         Suite 1330
                                         Indianapolis, IN 46204
                                                                                                  Kev. ^/^u i I
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            Photizo LLC dba Fish Window Cleani
                                                 Debtor(s)     Case No.

                   CURRENT BUSINESS INCOME AND EXPENSES


Please provide figures for the full calendar month preceding the date of petition to the date of petition.
Bank book balance and cash on hand at beginning of full calendar month preceding filing
$ 10,492.00
RECEIPTS & OTHER FUNDING:

      1. Sales/Receipts                                          $18600.00
      2. Accounts Receivable Collections                         $15602.00
      3. Loans/Financing                                         $0
      4. Capital Contributions                                   $0

      5. Other Receipts (describe below)                         $0

                                                 $
                                                 $
                                                 $

I. TOTAL RECEIPTS & FUNDING (sum of lines 1-5)                                        $34202.00

EXPENDITURES:

      6.     Inventory Purchases                                 $450.00

      7.    Taxes
                                                                 $0
      8.     PAYROLL
                                                                 $1712.00
                        a. Compensation of Insiders
                        b. Salaries & Wages                      $10688.00
                        c. Outside Labor
                                                                 $0


      9.     Payments to Professionals                           $0
      10. Insurance                                              $2463.00
      11.    Real Property Rent Payments                         $784.00
      12.    Equipment Lease Payments                            $100.00
      13.    Mortgage Payments                                   $0
      14.    Utilities/Telephone                                 $633.00
      15.    Supplies                                            $1630.00
      16.    Repairs & Maintenance                               $923.00
      17. Travel & Entertainment                                 $440.00
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      18. Other Expenses (describe below)                         $4427.00

          Franchise Royalties              $2325.00

         Meals                             $245.00

         SBA Notes                         $1857.00

II. TOTAL EXPENDITURES (sum of lines 6-18)                                            $24250.00

NET CASH FLOW (Total Receipts less Total Expenditures)                                $9952.00
Bank book balance and cash on hand at date of filing                                  $?




(Note: Declaration required if form is filed separately from other schedules.)

I/We declare under the penalty of perjury that the information provided in this form is true and correct.

Date: 05/10/2023
                                                                              (Signature of Debtor)

                                                   Thomas D. Richardson       (Printed Name of Debtor)

                                                            n/a               (Signature of Joint Debtor, if any)

                                                                              (Printed Name of Joint Debtor, if any)




                                                                                                      Print Form
